Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 1 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 2 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 3 of 22




                  EXHIBIT
                               A
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 4 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 5 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 6 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 7 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 8 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 9 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 10 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 11 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 12 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 13 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 14 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 15 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 16 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 17 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 18 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 19 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 20 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 21 of 22
Case 2:90-cv-00520-KJM-SCR   Document 3060   Filed 09/29/08   Page 22 of 22
